        Case 3:25-cv-01766-EMC         Document 98    Filed 04/02/25   Page 1 of 6



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15                                UNITED STATES DISTRICT COURT

16                             NORTHERN DISTRICT OF CALIFORNIA

17                                    SAN FRANCISCO DIVISION

18   NATIONAL TPS ALLIANCE, MARIELA                  Case No. 3:25-cv-01766-EMC
     GONZÁLEZ, FREDDY JOSE ARAPE RIVAS,
19   M.H., CECILIA DANIELA GONZÁLEZ                  PLAINTIFFS’ EMERGENCY REQUEST
     HERRERA, ALBA CECILIA PURICA                    TO EXTEND BRIEFING SCHEDULE FOR
20   HERNÁNDEZ, E.R., HENDRINA                       DEFENDANTS’ MOTION TO STAY
     VIVAS CASTILLO, A.C.A., SHERIKA BLANC,
21   VILES DORSAINVIL, and G.S.,
22               Plaintiffs,
            vs.
23
     KRISTI NOEM, in her official capacity as
24   Secretary of Homeland Security, UNITED
     STATES DEPARTMENT OF HOMELAND
25   SECURITY, and UNITED STATES OF
     AMERICA,
26
                   Defendants.
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          PLAINTIFFS’ EMERGENCY MOTION TO EXTEND BRIEFING SCHEDULE FOR MOTION TO STAY
                                  CASE NO. 3:25-CV-01766-EMC
        Case 3:25-cv-01766-EMC           Document 98   Filed 04/02/25   Page 2 of 6



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                                  CASE NO. 3:25-CV-01766-EMC
        Case 3:25-cv-01766-EMC            Document 98        Filed 04/02/25      Page 3 of 6



1           Plaintiffs respectfully request a short extension of the briefing schedule on Defendants’

2    motion to stay. ECF No. 95. Defendants filed a motion to stay and motion to expedite briefing at

3    approximately 7:00 p.m. PST on April 1, 2025 (ECF Nos. 95–96), and the Court ordered expedited

4    briefing at approximately 8:14 p.m. PST, setting a deadline of April 2, 2025 for Plaintiffs to oppose

5    the motion to stay (ECF No. 97). For four overarching reasons, Plaintiffs should have at least until

6    Wednesday, April 9, to oppose the motion to stay.

7           First, Plaintiffs agree this case should move forward in an expedited fashion to protect the

8    interests of over 1 million Venezuelans and Haitians. But not at the expense of a full and fair

9    opportunity to brief critical issues that Defendants will press on appeal. As the parties demanding

10   emergency relief in the form of expedited briefing, Defendants must make a “threshold showing

11   regarding irreparable harm,” absent which emergency relief “may not issue, regardless of the

12   [movant]’s proof regarding the other stay factors.” See Doe #1 v. Trump, 957 F.3d 1050, 1058 (9th

13   Cir. 2020) (internal quotation and citation omitted). They have failed to do so. The motion for

14   expedited briefing consists of a solitary paragraph. The sole justification for expedited briefing is

15   that the order is intended to take effect. ECF No. 96. Defendants present no evidence or argument as

16   to what irreparable harm would befall Defendants if the Court decides their motion for stay on a

17   slightly less compressed schedule. Nor does the underlying motion seeking a stay point to imminent

18   irreparable harm. Defendants merely argue that irreparable harm arises whenever the Executive

19   branch wants to enforce its preferred reading of a statute over the meaning intended by Congress.

20   ECF No. 95 at 7. Such a “perceived institutional injury is not ‘irreparable,’” especially when the

21   only question to be decided at this moment is one of scheduling, and “the core of this dispute”

22   ultimately could be resolved on questions of statutory construction. Doe #1, 957 F.3d at 1059.

23          Second, the current briefing schedule deprives Plaintiffs of an opportunity to review and

24   incorporate the administrative record—which the Court has ordered produced by Monday, April 7—

25   into their opposition. ECF No. 93. Defendants rely extensively on the challenged decisions as

26   purported evidence of what the Secretary considered to accuse the Court of overstepping its

27   authority when weighing the equities. See, e.g., ECF No. 95 at § II.A. The administrative record

28   should put to rest whether (as Plaintiffs contend) the Federal Register contains assertions that
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          PLAINTIFFS’ EMERGENCY MOTION TO EXTEND BRIEFING SCHEDULE FOR MOTION TO STAY
                                         CASE NO. 3:25-CV-01766-EMC
         Case 3:25-cv-01766-EMC           Document 98         Filed 04/02/25      Page 4 of 6



 1   amount to pablum and pretext devoid of any support, or (as Defendants suggest) the Secretary and

 2   her subordinates considered facts and evidence before making the challenged decisions. The

 3   administrative record in Ramos uncovered damning evidence of pretext, and Plaintiffs have every

 4   reason to believe this record will prove equally troubling. Both this Court and reviewing courts

 5   would benefit from Defendants’ impending production of the administrative record.

 6          Third, Defendants should not be allowed to use their request for an emergency briefing

 7   schedule to excuse their unwillingness to abide by the Court’s order. Despite looming deadlines,

 8   Defendants have refused to take any meaningful steps to comply with this Court’s order. In three

 9   emails between March 31 and April 1, Plaintiffs made clear the urgency of implementing this

10   Court’s order before the end of today, given that up to 350,000 TPS holders may otherwise be

11   unable to establish employment authorization on April 3. See Ahilan Arulanantham Decl., Exs. 1–3. 1

12   Many also are at risk of losing their drivers’ licenses. 2 But Defendants have provided no response to

13   repeated requests that they acknowledge the Court’s decision by today (although their counsel

14   expressed “hope” that Defendants might do so), simply by updating their website. Yet as of this

15   morning, even though there is no stay of this Court’s decision, Defendants’ website still publicly

16   claims that “TPS and related benefits associated with the 2023 designation will end on April 7,

17   2025,” 3 endangering work authorizations for up to 350,000 TPS holders starting tomorrow.

18   Defendants also have stonewalled Plaintiffs’ efforts to meet and confer about the administrative

19   record or otherwise comply with the Court’s case management directives. Defendants should not be

20   1
       While Secretary Noem’s February 5 Federal Register Notice terminates TPS for 2023 Venezuela
     registrants on April 7, these TPS holders have existing employment authorization documents that
21   only extend employment authorization through April 2. This is because Defendants failed to
     automatically extend work authorization for TPS holders for the five days between the end of the
22   prior TPS designation for 2023 Venezuela registrants and the date of TPS termination in Secretary
     Noem’s February 5 termination notice, even though the TPS statute plainly states that “[w]ork
23   authorization . . . shall be effective throughout the period the alien is in temporary protected status.”
     8 U.S.C. § 1254a(a)(2); see also id. § 1254a(a)(1)(B) (Secretary “shall authorize” TPS holders to
24   work).
     2
25     Plaintiffs have already uncovered evidence of one jurisdiction with a significant population of
     Venezuelan TPS holders that appears to be taking the position that driver’s licenses will expire
26   notwithstanding the Court’s order. See Ahilan Arulanantham Decl., Ex. 3.
     3
      USCIS, “Temporary Protected Status Designated Country: Venezuela,”
27
     https://www.uscis.gov/humanitarian/temporary-protected-status/temporary-protected-status-
28   designated-country-venezuela (last visited, April 2, 2025).
                                               2
           PLAINTIFFS’ EMERGENCY MOTION TO EXTEND BRIEFING SCHEDULE FOR MOTION TO STAY
                                   CASE NO. 3:25-CV-01766-EMC
        Case 3:25-cv-01766-EMC            Document 98        Filed 04/02/25      Page 5 of 6



 1   rewarded for their recalcitrance with an expedited briefing schedule, especially when they have

 2   never suggested that it would be burdensome to produce the administrative record. Indeed,

 3   Defendants may take more time to update their website about this Court’s order than the Secretary

 4   took to vacate TPS. Defendants must not be rewarded for refusing to implement this Court’s order

 5   even as they seek to challenge it.

 6          Finally, Plaintiffs should be allowed more than a day to identify and develop arguments

 7   warranting further analysis in light of the Court’s order. In particular, Defendants’ stay motion rests

 8   heavily on Section 1252(f)(1), but as this Court’s order notes, “No court has yet to hold that

 9   §1252(f)(1) applies to §1254a ….” ECF No. 93 at 15 & n.5. Plaintiffs are examining this issue

10   closely in light of the Court’s ruling, and should be allowed more than a day to research what may be

11   a potential alternative ground for opposing the motion to stay.

12          Therefore, Plaintiffs respectfully request that Defendants remain subject to the April 7

13   deadline to produce the complete administrative record for the two challenged Venezuelan TPS

14   decisions, and that Plaintiffs be afforded until April 9 to submit their opposition, informed by the

15   administrative record. Plaintiffs take no position on the timing of a ruling by this Court on the

16   motion to stay, because Defendants have provided no exigency that would require the Court to rush

17   consideration of the administrative record and further briefing.

18    Date: April 2, 2025                                  Respectfully submitted,
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                                                           POLICY, UCLA SCHOOL OF LAW
20
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                                   CASE NO. 3:25-CV-01766-EMC
     Case 3:25-cv-01766-EMC    Document 98     Filed 04/02/25      Page 6 of 6



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